        EXHIBIT 27




Case 3:17-cv-00072-NKM-JCH Document 463-1 Filed 04/05/19 Page 1 of 2 Pageid#: 4389
                         Matthew Heimbach                                                                    V
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Case 3:17-cv-00072-NKM-JCH Document 463-1 Filed 04/05/19 Page 2 of 2 Pageid#: 4390
